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 4
 5
                          UNITED STATES DISTRICT COURT
 6                       WESTERN DISTRICT OF WASHINGTON

 7
      SQWISH WORLD, LLC
 8
 9                                      Plaintiff, Civil Action No. 18-00528

10                        vs.
                                                    JURY TRIAL DEMANDED
11    THE ORB FACTORY, LTD
12
                                      Defendant.
13
14
15                                        COMPLAINT
16          Plaintiff Sqwish World, LLC (“Plaintiff” or “Sqwish World”), by and through its

17   undersigned attorneys, alleges the following for its complaint against Defendant ORB,
     formally known as “The Orb Factory, LTD” (“Defendant” or “Orb”):
18
19
                                          I.       PARTIES
20
     1.1     Sqwish World is a limited liability company organized and existing under the
21           laws of the state of Arizona and having a place of business located at 2610 E.
22           Mohawk Ln. #120, Phoenix, AZ 85050, USA.
23   1.2     On information and belief, Defendant is a Limited Company organized and

24           existing under the laws of the province of Nova Scotia, Canada and having a
             place of business located at 225 Herring Cove Road, Halifax, Nova Scotia, B3P
25
             1L3, Canada.
26
      COMPLAINT                                                          Tom Hendrickson
                                                                       SEATTLE PATENT GROUP
      Page 1                                                            4020 148TH Ave NE, Suite D
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 1
                              II.     JURISDICTION AND VENUE
 2
     2.1   This Court has subject matter jurisdiction under 28 U.S.C. §1331 and 15 U.S.C.
 3
           §1121 because this action arises under the federal trademark and unfair
 4         competition laws of the United States, Title 15 Chapter 22 of the United States
 5         Code.
 6   2.2   This Court has personal jurisdiction over Defendant because Defendant has

 7         conducted, and continues to conduct, business in this judicial district and, on
           information and belief, has engaged in activities related to Sqwish World’s claims
 8
           of unfair competition and federal trademark infringement that establish minimum
 9
           contacts with the State of Washington, including having committed acts of federal
10
           unfair competition and federal trademark infringement in this judicial district, and
11         the exercise of personal jurisdiction over Defendant is reasonable and fair.
12         Personal jurisdiction over Defendant may be established under Fed.R.Civ.P.
13         4(k)(1)(A) and/or Fed.R.Civ.P. 4(k)(2).

14   2.3   Venue is proper in this judicial district pursuant to 28 U.S.C. §1391.

15
                               III.    COMMON ALLEGATIONS
16
     3.1   Sqwish World sells toys and computer software under the registered trademarks
17
           “SOFT’N SQUISHY” (US Registration #4019102), “IF IT’S SOFT ‘N
18         SQUISHY, IT BELONGS IN SQWISHLAND” (US Registration #4052596),
19         “SQWISH LAND” (US Registration #3872820), “SQWISHLAND” (US
20         Registration #4055135), “SQWISHPAK” (US Registration #4271877), and

21         “SQWISHCHARM” (US Registration #4635684), among others.
     3.2   Registration of the mark “SOFT’N SQUISHY” was granted by the United States
22
           Patent and Trademark Office (“USPTO”) on August 30, 2011, while registration
23
           of the mark “IF IT’S SOFT ‘N SQUISHY, IT BELONGS IN SQWISHLAND”
24
           was granted by the USPTO on November 8, 2011.
25
26
     COMPLAINT                                                           Tom Hendrickson
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     3.3   Plaintiff operates an interactive video game through the website
 1
           http://sqwishland.com where Plaintiff’s products and marks are promoted.
 2
     3.4   On information and belief, The Orb Factory is a toy manufacturer located in
 3
           Halifax, Nova Scotia, Canada which was incorporated in 1990. Its products
 4         include jewelry, room decors, notes, diaries, cards, jewelry boxes, and magnetic
 5         art kits, as well as imaginative play, sparkling, pre-school fun, craft, and activity
 6         supplies. The company sells its products through retailers in Canada, the United

 7         States, and internationally. The Orb Factory Limited was incorporated in 1990
           and is based in Halifax, Canada.
 8
     3.5   Sqwish World sells its trademarked products on-line through its website,
 9
           https://shop.sqwishland.com, through brick and mortar retail stores, e.g., Toys ‘R
10
           Us, via vending machines located at brick and mortar retail stores, as well as
11         through other on-line retailers such as Amazon.com.
12   3.6   Since January of 2011, Sqwish World has expended substantial resources in the
13         promotion and advertising of its marks “SOFT’N SQUISHY” and “IF IT’S SOFT

14         ‘N SQUISHY, IT BELONGS IN SQWISHLAND”. Images representing
           Plaintiff’s products are attached as Exhibit A.
15
     3.7   Sqwish World’s use of its marks, “SOFT’N SQUISHY” and “IF IT’S SOFT ‘N
16
           SQUISHY, IT BELONGS IN SQWISHLAND”, has been substantial and
17
           continuous since January of 2011. A Combined Declaration of Use and
18         Incontestability Under Sections 8 & 15 was filed on the mark “SOFT’N
19         SQUISHY” on September 1, 2016. See attached Exhibit B1. A Combined
20         Declaration of Use and Incontestability Under Sections 8 & 15 was filed on the

21         mark “IF IT’S SOFT ‘N SQUISHY, IT BELONGS IN SQWISHLAND” on April
           26, 2017. See attached Exhibit B2.
22
     3.8   Orb filed intent to use applications on May 12, 2017, for the mark “SOFT’N SLO
23
           SQUISHIES” as a standard character (i.e., word) mark and as a mark comprised
24
           of words, letters, and/or numbers in stylized form under Serial Numbers
25         87447533 and 87447835, respectively.
26
     COMPLAINT                                                            Tom Hendrickson
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     3.9   On information and belief, Defendant makes toy characters and toy baked goods,
 1
           along with toy fruit, which it sells under the brand name “SOFT’N SLO
 2
           SQUISHIES”. See attached Exhibit C.
 3
     3.10 Defendant received an office action from the USPTO on August 17, 2017,
 4         informing them that their applications were being challenged because, inter alia,
 5         of a likelihood of confusion with Plaintiff’s marks “SOFT’N SQUISHY” and “IF
 6         IT’S SOFT ‘N SQUISHY, IT BELONGS IN SQWISHLAND”. See attached

 7         Exhibits D1 and D2.
     3.11 Upon learning of Orb Factory’s use of its marks, Plaintiff made demands that
 8
           Defendant cease and desist from using its marks. See attached Exhibit E.
 9
           Defendant has so far refused and has denied that any “actual confusion” is
10
           occurring.
11   3.12 A simple internet search of the term “SOFT’N SQUISHY” demonstrates that
12         when this term is typed into the search engines Bing.com, Yahoo.com, or
13         Google.com, Defendant’s products are among the very first search results

14         displayed. See attached Exhibits F1, F2, and F3. A similar result occurs when the
           term “SOFT’N SQUISHY” is typed into the on-line retailers Amazon.com and
15
           Ebay.com. See attached Exhibits G1 and G2.
16
17
             IV.     COUNT I – FEDERAL TRADEMARK INFRINGEMENT OF
18                                       REGISTRATION #4019102
19   4.1   Sqwish World repeats and realleges the allegations contained in paragraphs I
20         through III as if fully set forth herein.

21   4.2   Defendant has used in interstate commerce, without authorization from Sqwish
           World, the mark “SOFT’N SQUISHY” in connection with the marketing,
22
           advertising, promotion, and sale of their toys.
23
     4.3   Defendant’s use of the mark “SOFT’N SQUISHY” is likely to have caused
24
           confusion, to have caused mistake, and/or to have deceived purchasers as to the
25
26
     COMPLAINT                                                          Tom Hendrickson
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           source, of Defendant’s toys or as to Defendant’s affiliation, connection, approval,
 1
           sponsorship, or association with Sqwish World.
 2
     4.4   Defendant’s actions constitute infringement of Sqwish World’s federally
 3
           registered trademark for “SOFT’N SQUISHY” in violation of Section 32(a) of the
 4         Lanham Act, 15 U.S.C. §1114.
 5   4.5   Defendant’s infringing conduct has caused damage to Sqwish World’s business,
 6         reputation, goodwill, profits, and the strength of Sqwish World’s federally

 7         registered “SOFT’N SQUISHY” trademark.
     4.6   On information and belief, Defendant was actively aware of Sqwish World and its
 8
           “SOFT’N SQUISHY” federal trademark registration when they began selling
 9
           their toys, yet proceeded anyway to use the mark “SOFT’N SQUISHY” in
10
           connection with their toys, thus rendering Defendant’s infringement willful and
11         deliberate.
12
13          V.       COUNT II – FEDERAL TRADEMARK INFRINGEMENT OF

14                                      REGISTRATION #4052596
     5.1   Sqwish World repeats and realleges the allegations contained in paragraphs I
15
           through IV as if fully set forth herein.
16
     5.2   Defendant has used in interstate commerce, without authorization from Sqwish
17
           World, the mark “IF IT’S SOFT ‘N SQUISHY, IT BELONGS IN
18         SQWISHLAND” in connection with the marketing, advertising, promotion, and
19         sale of their toys.
20   5.3   Defendant’s use of the mark “IF IT’S SOFT ‘N SQUISHY, IT BELONGS IN

21         SQWISHLAND” is likely to have caused confusion, to have caused mistake,
           and/or to have deceived purchasers as to the source, of Defendant’s toys or as to
22
           Defendant’s affiliation, connection, approval, sponsorship, or association with
23
           Sqwish World.
24
     5.4   Defendant’s actions constitute infringement of Sqwish World’s federally
25         registered trademark for “IF IT’S SOFT ‘N SQUISHY, IT BELONGS IN
26
     COMPLAINT                                                          Tom Hendrickson
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           SQWISHLAND” in violation of Section 32(a) of the Lanham Act, 15 U.S.C.
 1
           §1114.
 2
     5.5   Defendant’s infringing conduct has caused damage to Sqwish World’s business,
 3
           reputation, goodwill, profits, and the strength of Sqwish World’s federally
 4         registered “IF IT’S SOFT ‘N SQUISHY, IT BELONGS IN SQWISHLAND”
 5         trademark.
 6   5.6   On information and belief, Defendant was actively aware of Sqwish World and its

 7         “IF IT’S SOFT ‘N SQUISHY, IT BELONGS IN SQWISHLAND” federal
           trademark registration when they began selling their toys, yet proceeded anyway
 8
           to use the mark “SOFT’N SQUISHY” in connection with their toys, thus
 9
           rendering Defendant’s infringement willful and deliberate.
10
11           VI.     COUNT III – FEDERAL UNFAIR COMPETITION (FALSE
12                         DESIGNATION OF ORIGIN OR SPONSORSHIP)
13   6.1   Sqwish World repeats and realleges the allegations contained in paragraphs I

14         through V as if fully set forth herein.
     6.2   Sqwish World’s “SOFT’N SQUISHY” trademark, which has been used in
15
           connection with Sqwish World’s products since at least Jan 20, 2011, is inherently
16
           distinctive and has acquired secondary meaning through long and sustained use in
17
           interstate commerce and through substantial advertising, promotion, and sales.
18   6.3   Defendant has used “SOFT’N SQUISHY” and is continuing to use, in interstate
19         commerce and without authorization from Sqwish World in connection with the
20         marketing, advertising, promotion, and sale of their toys.

21   6.4   Defendant’s use of the mark “SOFT’N SQUISHY” is likely to cause confusion, to
           cause mistake, and/or to deceive purchasers as to the source of Defendant’s toys
22
           or as to Defendant’s affiliation, connection, approval, sponsorship, or association
23
           with Sqwish World.
24
25
26
     COMPLAINT                                                          Tom Hendrickson
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     6.5     Defendant’s actions constitute false designation of origin and false representation
 1
             in connection with the sale, distribution, and related interstate commercial activity
 2
             of their toys in violation of Section 43(a) of the Lanham Act, 15 U.S.C. §1125.
 3
     6.6     Defendant’s unfair competition in connection with the use of the mark “SOFT’N
 4           SQUISHY” in interstate commerce has caused, is causing, and will continue to
 5           cause damage to Sqwish World’s business, reputation, goodwill, profits, and the
 6           strength of the “SOFT’N SQUISHY” trademark.

 7   6.7     On information and belief, Defendant was actively aware of Sqwish World and its
             use of the “SOFT’N SQUISHY” trademark when they began selling their toys,
 8
             yet proceeded anyway to use the mark “SOFT’N SQUISHY” in connection with
 9
             their toys, and are continuing to sell their toys, thus rendering Defendant’s
10
             engagement in unfair competition willful and deliberate.
11
12         VII.   COUNT IV – COMMON LAW TRADEMARK INFRINGEMENT AND
13                                         UNFAIR COMPETITION

14   7.1     Sqwish World repeats and realleges the allegations contained in paragraphs I
             through VI as if fully set forth herein.
15
     7.2     Defendant has used in interstate commerce, without authorization from Sqwish
16
             World, the mark “SOFT’N SQUISHY” in connection with the marketing,
17
             advertising, promotion, and sale of their toys.
18   7.3     Defendant’s use of “SOFT’N SQUISHY” is likely to cause confusion, to cause
19           mistake, and/or to deceive as to the source of origin of Defendant’s goods or
20           services.

21   7.4     Defendants actions in the State of Washington constitute trademark infringement
             and unfair competition under the Common Law of Washington.
22
     7.5     Plaintiff has been irreparably injured and will continue to be irreparably injured
23
             unless the conduct of Defendant in the State of Washington is preliminarily and
24
             permanently enjoined.
25
26
     COMPLAINT                                                              Tom Hendrickson
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      7.6   Upon information and belief, Defendant undertook the adoption of “SOFT’N
 1
            SQUISHY” willfully, or with reckless intention of trading upon the good will of
 2
            Plaintiff.
 3
 4             VIII. COUNT V – VIOLATION OF THE WASHINGTON STATE
 5                        CONSUMER PROTECTION ACT, RCW 19.86, et seq.
 6    8.1   Sqwish World repeats and realleges the allegations contained in paragraphs I

 7          through VII as if fully set forth herein.
      8.2   On information and belief, Defendant has used in commerce, without
 8
            authorization from Sqwish World, the mark “SOFT’N SQUISHY” in connection
 9
            with the marketing, advertising, promotion, and sale of their toys.
10
      8.3   Defendant’s use of “SOFT’N SQUISHY” is likely to cause confusion, to cause
11          mistake, and/or to deceive as to the source of origin of Defendant’s goods or
12          services.
13    8.4   Defendant’s actions in the State of Washington constitute trademark infringement

14          and unfair competition under the Common Law of Washington and are therefore
            unfair or deceptive (misleading).
15
      8.5   The public interest is affected by Defendants’ continued and repeated deceptive
16
            conduct.
17
      8.6   Plaintiff has been irreparably injured and will continue to be irreparably injured
18          unless the conduct of Defendant in the State of Washington is preliminarily and
19          permanently enjoined.
20    8.7   Upon information and belief, Defendant undertook the adoption of “SOFT’N

21          SQUISHY” willfully or with reckless intention of trading upon the good will of
            Plaintiff.
22
23
     //
24
     //
25   //
26
      COMPLAINT                                                           Tom Hendrickson
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                                      IX.     RELIEF REQUESTED
 1
           WHEREFORE Sqwish World respectfully requests that this court enter a judgment
 2
     that:
 3
      A.       Finds Defendant has infringed Sqwish World’s federally registered trademark for
 4   “Soft‘n Sqwishy” in violation of 15 U.S.C. §1114;
 5    B.       Finds Defendant has infringed Sqwish World’s federally registered trademark for
 6   “If It’s Soft‘n Sqwishy It Belongs in Sqwishland!” in violation of 15 U.S.C. §1114

 7    C.       Orders Defendant to recall and surrender for destruction all products,
     advertisements, and other materials and uses constituting trademark infringement or
 8
     unfair competition against Plaintiff’s rights;
 9
      D.       Orders Defendant and any affiliated officers, directors, agents, servants,
10
     employees, successors, assigns, and all persons in active concert or participation with
11   them, be permanently enjoined from infringing Sqwish World’s federally registered
12   “SOFT‘N SQUISHY” and “IF IT’S SOFT ‘N SQUISHY IT BELONGS IN
13   SQWISHLAND!” trademarks.

14    E.       Awards to Sqwish World profits gained by Defendant as a result of Defendant’s
     federal trademark infringement and federal unfair competition, increased to an amount
15
     this court deems just, pursuant to 15 U.S.C. §1117;
16
      F.       Awards to Sqwish World actual damages sustained as a result of Defendant’s
17
     federal trademark and federal unfair competition, increased by and up to three times,
18   pursuant to 15 U.S.C. §1117;
19    G.       Awards to Squish World statutory damages and attorney’s fees, pursuant to 15
20   U.S.C. §1117;

21    H.       Awards to Sqwish World costs and any additional damages to which Sqwish
     World is entitled as a result of Defendant’s trademark infringement and unfair
22
     competition;
23
      I.       Awards to Sqwish World costs, pre-judgment and post-judgment interest at the
24
     maximum allowable rate, fees, and other such further relief as the Court deems just and
25   proper.
26
      COMPLAINT                                                              Tom Hendrickson
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     J.      Awards to Sqwish World treble damages and attorney’s fees as allowed by RCW
 1
     19.86.090.
 2
 3
 4           DATED this 10th day of April, 2018.
 5
 6                                                 Respectfully submitted,

 7
 8
                                                   By__/s/ Tom Hendrickson_____________
 9
                                                   TOM HENDRICKSON, WSBA# 41832
10                                                 Attorney for the Sqwish World, LLC
                                                   SEATTLE PATENT GROUP
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      COMPLAINT                                                          Tom Hendrickson
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                               JURY TRIAL DEMANDED
 1
 2       Sqwish World demands a jury trial on all issues so triable.

 3
         DATED this 10th day of April, 2018.
 4
                                               Respectfully submitted,
 5
 6
 7
                                               By__/s/ Tom Hendrickson_____________
 8                                             TOM HENDRICKSON, WSBA# 41832
 9                                             Attorney for the Sqwish World, LLC
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     COMPLAINT                                                         Tom Hendrickson
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                                   INDEX OF EXHIBITS
 1
 2       Exhibit – A: Images Representative of Plaintiff’s Products
 3       Exhibit – B: Combined Declarations of Use and Incontestability for Plaintiff’s
 4        Marks “SOFT’N SQUISHY” (B1) and “IF IT’S SOFT ‘N SQUISHY, IT
 5        BELONGS IN SQWISHLAND” (B2)
 6       Exhibit – C: Images Representative of Defendant’s Products
 7       Exhibit – D: Office Actions Received by Defendant’s for Their Trademark
 8        Application Numbers 87447533 (D1) and 87447835 (D2)
 9       Exhibit – E: Second Cease and Desist Letter Sent by Plaintiff to Defendant on
10        November 24, 2017.
11       Exhibit – F: Internet Search Results of the Term “SOFT’N SQUISHY” Obtained
12        from Bing.com (F1); Yahoo.com (F2); and Google.com (F3)
13       Exhibit – G: Search Results of the Term “SOFT’N SQUISHY” Obtained from
14        On-Line Retailers Amazon.com (G1) and Ebay.com (G2)
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     COMPLAINT                                                         Tom Hendrickson
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